

People v Vazque (2025 NY Slip Op 02275)





People v Vazque


2025 NY Slip Op 02275


Decided on April 17, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 17, 2025

Before: Manzanet-Daniels, J.P., Kennedy, Kapnick, Scarpulla, Higgitt, JJ. 


Ind No. 792/21|Appeal No. 4143|Case No. 2023-01465|

[*1]The People of the State of New York, Respondent,
vEfrain Vazque, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Jane Merrill of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Andrew J. Loizides of counsel), for respondent.



Order, Supreme Court, Bronx County (Laurence E. Busching, J.), entered on or about March 7, 2023, which, after a hearing, adjudicated defendant a level three predicate sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in denying defendant's request for a downward departure (see People v Gillotti, 23 NY3d 841, 861 [2014]). The mitigating factors cited by defendant are outweighed by his criminal record, which shows a propensity to commit sex crimes, even though his prior convictions are remote in time (see People v Acosta, 225 AD3d 553, 554 [1st Dept 2024], lv denied 41 NY3d 910 [2024]; People v Carter, 114 AD3d 592, 592 [1st Dept 2014]). Defendant also did not establish that his response to the treatment program was exceptional so as to warrant a downward departure, or that his "family support reduced his particular likelihood of reoffense or danger to the community" (People v Bevel, 224 AD3d 430, 431 [1st Dept 2024], lv denied 42 NY3d 902 [2024]). Moreover, defendant's age is "not a reliable factor in determining his risk of reoffending," particularly where he committed his most recent sex offense at the age of 66 (People v McFarland, 120 AD3d 1121, 1122 [1st Dept 2014], lv denied 24 NY3d 1053 [2014]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 17, 2025








